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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. Grace & Co., et al., Case No. 01-01139 (JKF)
(Jointly Administered)
Debtors. Objection Deadline: December 4, 2007 @ 4:00 pm

Hearing Date: TBD only if necessary

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SUMMARY OF THE VERIFIED APPLICATION OF
RICHARDSON PATRICK WESTBROOK & BRICKMAN, LLC
FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT
OF EXPENSES AS ZAI LEAD SPECIAL COUNSEL FOR THE
INTERIM PERIOD FROM MAY 1, 2007 THROUGH MAY 31, 2007

Name of Applicant: Richardson Patrick Westbrook
& Brickman, LLC

Authorized to Provide Professional Services to: Zonolite Attic Insulation Claimants
Date of Appointment: July 22, 2002

Period for which compensation and

Reimbursement is sought: May 1, 2007 through

May 31, 2007
Amount of Compensation sought as actual,

Reasonable, and necessary: $ 23,010.00
Amount of Expenses Reimbursement: $0
Thisisa: X monthly interim __ final application

Prior Application filed: Yes
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12/31/2004

on counsel

Date Period Requested Requested Status of Status of Expenses
Filed Covered Fees Expenses Fees
10/31/02 7/22/2002 - $170,069.50 | $44,005.38 No objections served | No objections served
9/30/2002 on counsel on counsel
12/04/02 10/01/2002 - $163,682.00 | $35,319.00 No objections served | No objections served
10/3 1//2002 on counsel on counsel
01/08/2003 | 11/01/2002 - $115,319.00 | $5,714.09 No objections served | No objections served
11/30/2002 on counsel on counsel
02/17/2003 | 12/01/2002 - $104,018.00 | $32,439.18 No objections served | No objections served
12/31/2002 on counsel on counsel
03/19/2003 | 1/1/2003 - $142,944.50 | $68,022.89 No objections served | No objections served
1/31/2003 on counsel on counsel]
04/09/03 2/1/2003 - $217,149.00 | $31,928.29 No objections served | No objections served
2/28/2003 on counsel on counsel
05/16/2003 | 3/1/2003- $248,048.00 | $66,978.32 No objections served | No objections served
3/31/2003 on counsel on counsel
07/01/2003 | 4/1/2003- $102,950.00 | $149,727.83 No objections served | No objections served |
4/30/2003 on counsel on counsel
07/21/2003 | 5/1/2003- $174,462.25 | $48,658.57 No objections served | No objections served
5//3 1/2003 on counsel on counsel
08/15/2003 | 6/1/2003- $202,080.25 | $71,550.40 No objections served | No objections served
6/30/2003 on counsel on counsel
09/15/2003 | 7/1/2003- $126,035.00 | $25,802.60 No objections served | No objections served
7/31/2003 on counsel on counsel
| 10/23/2003 | 8/1/2003- $121,733.75 | $26,563.23 No objections served | No objections served
8/31/2003 on counsel on counsel
11/12/2003 | 9/1/2003- $69,708.00 | $19,989.71 No objection served | No objection served
9/30/2003 on counsel on counsel
12/8/2003 10/1/2003- $24,786.50 $5,853.38 No objection served No objection served
10/3 1/2003 on counsel on counsel
2/18/2004 11/1/2003- $13,566.00 | $106.03 No objection served No objection served
11/30/2003 on counsel on counsel
2/18/2004 12/1/2003- $12,107.50 $11,256.59 No objection served No objection served
12/3 1/2003 on counsel on counsel
4/21/2004 1/1/2004- $17,311.00 $1,427.54 No objection served No objection served
1/31/2004 on counsel on counsel
4/21/2004 2/1/2004- $36,536.50 | $3,023.68 No objection served No objection served
| 2/29/2004 on counsel on counsel
7/23/2004 3/1/2004- $6,212.50 $100.02 No objection served No objection served
3/31/2004 on counsel on counsel
8/17/2004 4/1/2004- $327.50 $0 No objection served | No objections served
4/30/2003 on counsel on counsel
8/17/2004 5/1/2004- $4,432.50 $0 No objections served | No objections served
5/31/2004 on counsel on counsel
8/17/2004 6/1/2004- $24,797.50 $0 No objections served | No objections served
6//30/2004 on counsel on counsel
10/25/2004 | 7/1/2004- $12,247.50 | $0 No objections served | No objections served
7/31/2004 on counsel} on counse!} |
10/25/2004 | 8/1/2004- $13,955.00 $0 No objection served No objection served
8/3 1/2004 on counsel on counsel
11/23/2004 | 9/1/2004- $31,334.00 $374.29 No objections served | No objection served
9/30/2004 on counsel on counsel
11/23/2004 | 10/1/2004- $210,386.00 | $23,723.43 No objections served | No objections served
10/31/2004 on counsel on counsel
) 1/12/2005 11/1/2004- $23,932.50 $13,414.72 No objections served | No objections served
11/30/2004 on counsel on counsel
1/12/2005 12/1/2004- $9,507.50 $145.53 No objections served | No objections served

on counse}

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2/28/2005 1/1/2005- $14,257.50 | $1,109.11 No objections served | No objections served
/34/2005 on counsel on counsel
3/29/2005 2/1/2005- $7,082.50 $33.46 No objections served | No objections served
2/28/2005 on counsel on counsel
5/10/2005 3/1/2005- $13,675.00 | $954.22 No objections served | No objections served
3/31/2005 on counsel on counsel
8/19/2005 4/1/2005- $7,500.00 $7.60 No objections served | No objections served
4/30/2005 on counsel on counsel
8/19/2005 5/1/2005- $7,662.50 $29.60 No objections served | No objections served
5/31/2005 on counsel on counsel
8/25/2005 6/1/2005- $5,187.50 $0 No objections served | No objections served
6/30/2005 on counsel on counsel
10/25/2005 | 7/1/2005- $2,595.00 $0 No objections served | No objections served
7/30/2005 on counsel on counsel
11/10/2005 | 8/1/2005- $7,430.00 $ 401.08 No objections served | No objections served
8/31/2005 on counsel on counsel
11/10/2005 | 9/1/2005- $6,562.50 $0 No objections served | No objections served
9/30/2005 on counsel on counsel
1/20/2006 10/1/2005- $4,630.00 $0 No objections served | No objections served
10/31/2005 on counsel on counsel
1/20/2006 11/1/2005- $8,710.00 $0 No objections served | No objections served
11/30/2005 on counsel on counsel
1/20/2006 12/1/2005- $4,312.00 $0 No objections served | No objections served
12/3 1/2005 on counsel on counsel
3/10/2006 1/1/2006- $7,125.00 $ 38.40 No objections served | No objections served
1/31/2006 on counsel on counsel
11/15/2006 | 2/1/2006 - $10,907.50 $0 No objections served | No objections served
2/28/2006 on counsel on counsel
11/15/2006 | 3/1/2006 — $6,975.00 30 No objections served | No objections served
3/3 1/2006 on counsel on counsel
11/3/2006 4/1/2006- $6,125.00 $0 No objections served | No objections served
4/30/2006 on counsel on counsel
11/3/2006 5/1/2006- $5,125.00 $0 No objections served | No objections served
5/3 1/2006 on counsel on counsel
11/3/2006 6/1/2006- $4.312.50 $0 No objections served | No objections served
6/30/2006 on counsel on counsel
11/23/2006 | 7/1/2006- $2,250.00 $0 No objections served | No objections served
7/31/2006 on counsel on counsel
11/23/2006 | 8/1/2006- $4,125.00 $0 No objections served | No objections served
8/3 1/2006 on counsel on counsel
11/23/2006 | 9/1/2006- $5,937.50 $0 No objections served | No objections served
9/30/2006 on counsel on counsel
5/23/2007 10/1/2006- $6,500.00 $0 No objections served | No objections served
10/31/2006 on counsel on counsel
5/23/2007 11/1/2006- $4,750.00 $0 No objections served | No objections served
11/30/2006 on counsel on counsel
5/23/2007 12/1/2006- $22,917.5 $0 No objections served | No objections served
12/3 1/2006 on counsel on counsel
7/20/2007 1/1/2007- $57,062.50 | $0 No objections served | No objections served
1/31/2007 on counsel on counsel
7/20/2007 2/1/2007- $6,867.50 $0 No objections served | No objections served
2/28/2007 on counsel on counsel
7/20/2007 3/1/2007- $35,875.00 | $0 No objections served | No objections served
3/31/2007 on counsel on counsel
11/14/2007 | 4/1/2007- $21,425.00 $0 Pending Pending

4/30/2007

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This is the Fifty-Sixth RPWB application for monthly interim compensation of services
filed with the Bankruptcy Court in this Chapter 11 case.

The total expended for the preparation of this application is approximately 1.5
the corresponding estimated compensation that will be requested in a future application

is approximately $450.00.

hours, and

The Richardson Patrick Westbrook & Brickman attorneys who rendered professional
services in these cases during the Fee Period are:

Name of Position Number of Hourly Total Total
Professional Person with the years as an Department billing billed | compensation
applicant attorney rate hours
Edward J. Westbrook | Partner _| 25 Litigation $650 38.4 $23,010.00
TOTALS 38.4 $23,010.00
Compensation by Project Category
Category Total Hours Total Fees
11-Fee Applications, Applicant
20-Tvel-Non-working
22-ZAI Science Trial 38.4 $23,010.00
TOTALS 38.4 $23,010.00
23-ZAI Science Trial Expenses
Description Amount
No expenses incurred during this period -0-
Total $ 0.00
Dated: November 14, 2007
Wilmington, Delaware N, LLC

1) VIL D. SL

William D. Sullivaé (No. i

Elihu E. Allinson, UI (No. 3476)

4 East 8'" Street, Suite 400
Wilmington, DE 19801
Phone: (302) 428-8191
FAX: (302) 428-8195

-and-

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Edward J. Westbrook, Esq.
Richardson Patrick Westbrook

& Brickman

1037 Chuck Dawley Blvd., Building A
Mount Pleasant, SC 29464

Phone: (843) 727-6513

FAX: (843) 727-6688

LEAD COUNSEL FOR
ZAI CLAIMANTS
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VERIFICATION

STATE OF SOUTH CAROLINA _ )

)
COUNTY OF CHARLESTON __)

Edward J. Westbrook, after being duly sworn according to law, deposes and says:

a) 1 am counsel with the applicant law firm Richardson, Patrick, Westbrook &
Brickman, and have been admitted to appear before this Court.

b) I have personally performed many of the Icegal services rendered by Richardson,
Patrick, Westbrook & Brickman and am thoroughly familiar with the other work performed on
behalf of the ZAI Claimants by the lawyers and paraprofessionals of Richardson, Patrick,
Westbrook & Brickman.

c) [ have reviewed the foregoing application and the facts set forth therein are true
and correct to the best of my knowledge, information and belief. Moreover, 1 have revicwed
Del.Bankr.LR 2016-2 and the ‘Amended Administrative Order Under 11 U.S.C. §§ 105(a) and
331 Establishing Revised Procedures for Interim Compensation and Reimbursement of Expenses
for Professionals and Official Committee Members’, signed April 17, 2002, and submit that the

Application substantially complies with such Rule and Order.

Edward J. Westbrook, Esq.

SWORN AND SUBSCRIBED
Before me this « day of Spkim\yer-2007.

Kamerly oud

Notary Public for Sotth Carolina

My Commission Expires
February 4, 2014
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09/25/2007 1
Time and Expense report
05/01/2007 - 05/31/2007
Date Client No. Client Name Transaction Code Rate HRS/QTY Total
Timekeeper Matter No. Description
Transaction: L106
Day: 05/01/2007
05/01/2007 200106 Zonolite Science Trial L106 $650.00 8.40 $5,460.00
ewestbrook 0000 Work on preparation for ATSDR ZAI hearing
Day: 05/02/2007
05/02/2007 200106 Zonolite Science Trial L106 $650.00 12.00 $7,800.00
ewestbrook 0000 Travel from Charleston to Pittsburgh for Omnibus Hearing where ZAI was scheduled,
work on preparation for ZAI argument during travel (6.5); meet with Darrell Scott to
prepare for argument (2); attend Omnibus Hearing (3.5)
Day: 05/04/2007
05/04/2007 200106 Zonolite Science Trial L106 $650.00 1.30 $845.00
ewestbrook 0000 Work on preparation for upcoming ZAI hearing incuding memo regarding legal research
needed (.8); work on outline for response to Grace regarding ZAI schedule (.5)
Day: 05/07/2007
05/07/2007 200106 Zonolite Science Trial L106 $650.00 7.30 $4,745.00
ewestbrook 0000 Work on Notice of Appeal issues (2.1): confer with Committee counsel and local
counsel regarding Notice of Appeal and Motion for Leave to Appeal issues (1.7); draft
Motion for Leave to Appeal (.7); review legal research regarding summary judgment
and standard of review (1.1); work on issues for appeal (1.7)
Day: 05/08/2007
05/08/2007 200106 Zonolite Science Trial L106 $650.00 0.10 $65.00
ewestbrook 0000 Revise memos regarding legal issues to be answered with respect to ZAI and calls to
Grace counsel regarding ZAI situation
Day: 05/10/2007
05/10/2007 200106 Zonolite Science Trial L106 $650.00 2.20 $1,430.00
ewestbrook 0000 Review orders on various Grace motions for use in ZAI
Day: 05/14/2007
05/14/2007 200106 Zonolite Science Trial L106 $650.00 0.30 $195.00
ewestbrook 0000 Review pleadings in Grace bankruptcy with respect to statute of limitations and
repose for possible impact on ZAI
Day: 05/29/2007
05/29/2007 200106 Zonolite Science Trial L106 $650.00 0.80 $520.00

09/25/2007 11:33 AM Jones, Kimberly
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09/25/2007 2
Time and Expense report
05/01/2007 - 05/31/2007
Date Client No. Client Name Transaction Code Rate HRS/QTY Total
Timekeeper Matter No. Description
ewestbrook 0000 Communications with Grace counsel {.2); work on ZAI planning (.2); discussions with
law clerks regarding Grace legal research projects (.4)
Transaction: L116
Day: 05/02/2007
05/02/2007 200106 Zonolite Science Trial L116 $325.00 6.00 $1,950.00
ewestbrook 0000 Return to Charleston from Pittsburgh - non working (billed at half rate)
Grand Total: $23,010.00
Expense Grand Total: $0.00
Time Grand Total: $23,010.00
Total Hours/Report: 38.40
Count: 9

09/25/2007 11:33 AM Jones, Kimberly
